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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,

v.                                                   CRIMINAL ACTION NO. 2:99-cr-00198

HERMAN LEE JAMES, JR.,

                              Defendant.


                     MEMORANDUM OPINION AND JUDGMENT ORDER

       Pending before the Court is a motion, brought pursuant to 18 U.S.C. § 3582(c)(2), to

reduce Defendant’s sentence based on a subsequent reduction in the applicable sentencing

guideline. On November 1, 2010, pursuant to the Fair Sentencing Act of 2010, the United States

Sentencing Guidelines were amended resulting in reductions in the guidelines in Section 2D1.1 for

cocaine base.   These temporary, emergency amendments to the Guidelines took effect on

November 1, 2010. Permanent amendments implementing the Act were promulgated on April 6,

2011, with an effective date of November 1, 2011. Subsequently, the Sentencing Commission

voted to give retroactive effect to the permanent amendments.       Pursuant to a Standing Order

entered on October 7, 2011, this case was designated for expedited consideration.

       The Court has received and considered the original Presentence Investigation Report (PSI),

original Judgment and Commitment Order and Statement of Reasons, and addendum to the PSI

from the Probation Office, and any representations made by the parties on this issue. The Court

has also considered the applicable factors under 18 U.S.C. § 3553(a), consistent with § 3582(c)(2),

and public safety.
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          The United States has indicated to the Court that it does not object to the reduction ordered

herein.

          Based on the foregoing considerations, the Motion is GRANTED. The Court ORDERS

that Defendant’s base offense level be reduced by 8 levels, resulting in a new total offense level of

34. It is further ORDERED that Defendant’s previous sentence be reduced to a period of 210

months, with credit for time served to date. This Order is subject to the prohibition contained

within U.S.S.G. §1B1.10(b)(2)(C).

          IT IS SO ORDERED.

          The Court DIRECTS the Clerk to send a copy of this Order to the Defendant and counsel,

the United States Attorney, the United States Probation Office, and the United States Marshal.

                                                ENTER:          January 14, 2014
